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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR08-036-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JOSE CHRISTOPHER CRIST,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy     to   Distribute    Methamphetamine;       Distribution of

15                         Methamphetamine

16 Date of Detention Hearing:     March 5, 2008

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense the maximum sentence of which

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 is ten years or more. There is therefore a rebuttable presumption against defendant as to both

02 dangerousness and flight risk, under 18 U.S.C. §3142(e).

03          2.     Defendant has a lengthy criminal history which includes multiple failures to appear

04 with resultant warrant activity. He has also failed to appear for commitment on several occasions.

05 He was brought into this court on a Writ of Habeas Corpus ad Prosequendum from the Snohomish

06 County Jail, where he is serving a 9 month jail term for unlawful firearm possession in the 2nd

07 degree. He has not worked for the last six years. He owes approximately $60,000 in child support

08 debt.

09          3.     Taken as a whole, the record does not effectively rebut the presumption that no

10 condition or combination of conditions will reasonably assure the appearance of the defendant as

11 required and the safety of the community.

12 It is therefore ORDERED:

13          (1)    Defendant shall be detained pending trial and committed to the custody of the

14                 Attorney General for confinement in a correction facility separate, to the extent

15                 practicable, from persons awaiting or serving sentences or being held in custody

16                 pending appeal;

17          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

18                 counsel;

19          (3)    On order of a court of the United States or on request of an attorney for the

20                 Government, the person in charge of the corrections facility in which defendant is

21                 confined shall deliver the defendant to a United States Marshal for the purpose of

22                 an appearance in connection with a court proceeding; and

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

02               counsel for the defendant, to the United States Marshal, and to the United States

03               Pretrial Services Officer.

04         DATED this 5th day of March, 2008.



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06                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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